      Case 2:17-cr-00128-RMP      ECF No. 265   filed 11/30/17   PageID.679 Page 1 of 2

                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



 1                                                                   Nov 30, 2017
                                                                         SEAN F. MCAVOY, CLERK
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 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,                      No. 2:17-CR-00128-RMP-2

10                       Plaintiff,                 ORDER GRANTING
11                                                  DEFENDANT’S MOTION FOR
                         v.                         TEMPORARY MODIFICATION OF
12                                                  RELEASE CONDITIONS
13   BRANDI L. LEHMAN,
                                                            MOTION GRANTED
14
                         Defendant.                           (ECF No. 261)
15
16         Before the Court is Defendant’s Motion to Temporarily Modify Order
17   Setting Conditions of Release (Unopposed). ECF No. 261. Defendant recites in
18   her motion that neither the United States, nor U.S. Probation oppose this request.
19   ECF No. 261 at 2.
20         Specifically, Defendant requests permission to travel outside the Eastern
21   District of Washington to Post Falls, Idaho to spend the night with her father from
22   December 1-2, 2017 in order to introduce him to her newborn baby. Defendant
23   does not explain why her father cannot come to Spokane.
24         IT IS ORDERED, that Defendant’s Motion, ECF No. 261, is GRANTED.
25   Defendant is permitted to travel to Post Falls, Idaho from December 1-2, 2017.
26   Defendant shall provide Pretrial Services the address and contact information of
27   the landlord where she will reside and a telephone number where she may be
28   contacted at any time.



     ORDER - 1
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 1         All other terms and conditions of pretrial release not inconsistent herewith
 2   shall remain in full force and effect.
 3         IT IS SO ORDERED.
 4         DATED November 30, 2017.
 5
 6                                _____________________________________
                                            JOHN T. RODGERS
 7                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
